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                                   STATEMENT OF FACTS

         Your affiant, Jason Novick, is a Special Agent assigned to the Federal Bureau of
Investigation - Philadelphia Division South Jersey Resident Agency. In my duties as a special
agent, I am responsible for investigating violations of federal law and threats to U.S. national
security. Prior to joining the FBI, I was employed as an intelligence analyst by the U.S.
Department of Defense. I have received training and have gained experience in interview and
interrogation techniques, arrest procedures, search warrant applications, the execution of arrest and
search warrants, evidence seizure and processing, and various other criminal laws and procedures.
Currently, I am a tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members ofthe U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to-and did-evacuate    the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

         During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On approximately February 5 and 11, 2021, a witness ("W 1") was interviewed by law
enforcement. WI reported to law enforcement that it was "common knowledge" among those who
worked with Larry Stackhouse ("STACKHOUSE"), that STACKHOUSE had entered the Capitol
on January 6, 2021. WI stated that STACKHOUSE had called out of work on January 5 and 6,
2021 and that STACKHOUSE had previously been reprimanded at work for displaying political
signs and attires in support of former President Trump, which violated their employer's policies.
WI initially stated that STACKHOUSE had been identified by his employer as being associated
with "hate groups" from his social media, but later clarified that the employer had no information
that STACKHOUSE supported hate groups. Rather, STACKHOUSE was a strong supporter of
President Trump who had expressed that support at work in a manner inconsistent with the
employer's policies.

         WI provided STACKHOUSE's cellular telephone number as ***-***-6199.                Records
obtained from AT&T, the service provider for cellular telephone number ***-***-6199, revealed
that the phone number is registered to STACKHOUSE's mother, and a credit card in Larry
Stackhouse's name was used to pay the cell phone bill on January 25, 2021. According to records
obtained through a search warrant which was served on AT&T on January 6, 2021, in and around
the time of the incident, the device associated with cellular telephone number ***-***-6199 was
identified as having utilized a cell site consistent with providing service to a geographic area that
includes the interior of the U.S. Capitol building.

       Using open source research tools, the FBI identified a Telegram account that appeared to
belong to STACKHOUSE based on the usemame and a profile picture (depicted below, with
STACKHOUSE being the individual on the right). The profile picture appeared to show
STACKHOUSE at the "Stop the Steal" rally at the Capitol on January 6, 2021.
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         The FBI subsequently discovered videos and images from U.S. Capitol Police taken from
surveillance cameras inside the U.S. Capitol, which show STACKHOUSE inside the U.S. Capitol
on January 6, 2021. STACKHOUSE is wearing the same Trump beanie hat, American flag
bandana, and distinctive sweatshirt as in the image above.
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       On or about February 17,2021, a witness ("W2") was interviewed by law enforcement.
W2 stated that those who worked with STACKHOUSE, including W2, were aware that
STACKHOUSE had entered the U.S. Capitol building on January 6, 2021. W2 was shown the
above two photos and positively identified the individual wearing the distinctive sweatshirt and
Trump beanie hat in both photos as STACKHOUSE. W2 stated that he had overheard colleagues
of STACKHOUSE discussing the fact that STACKHOUSE had a video on his phone that he had
taken while inside the Capitol Building.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
STACKHOUSE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a "restricted building" includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that STACKHOUSE violated
40 U.S.C. § 5104(e)(2)(0) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
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Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 2nd day of March 2021.                                  Digitally signed by G.
                                                                                 Michael Harvey
                                                                                 Date: 2021.03.02 12:14:04
                                                                                 -05'00'

                                                         G. MICHAEL HARVEY
                                                         U.S. MAGISTRATE JUDGE
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